            If this opinion indicates that it is “FOR PUBLICATION,” it is subject to
                 revision until final publication in the Michigan Appeals Reports.




                           STATE OF MICHIGAN

                            COURT OF APPEALS


PEOPLE OF THE STATE OF MICHIGAN,                                     UNPUBLISHED
                                                                     August 15, 2024
               Plaintiff-Appellee,

v                                                                    No. 367448
                                                                     Genesee Circuit Court
DAVID SCOTT AUSTIN II,                                               LC No. 2022-049603-FH

               Defendant-Appellant.


Before: REDFORD, P.J., and GADOLA, C.J., and RIORDAN, J.

PER CURIAM.

       A jury convicted defendant of operating a motor vehicle while intoxicated (OWI), third
offense, MCL 257.625(1); MCL 257.625(9)(c), and he was sentenced to 180 days in jail and 24
months’ probation. Defendant appeals by right, alleging that prosecutorial error warrants reversal
and a new trial. We disagree and affirm.

                                             I. FACTS

         Defendant was arrested on suspicion of OWI on the evening of August 21, 2020, after a
witness called 911 upon observing defendant’s pickup truck swerving across all four lanes of a
two-way road. The witness followed defendant’s truck to a restaurant parking lot. When the
officer dispatched for the call pulled into the restaurant’s parking lot shortly after 8:00 p.m., he
saw defendant “staggering” toward his truck and getting into the driver’s seat. Upon approaching
and observing defendant, the officer noticed that he had bloodshot eyes, that his speech was
slurred, and that he had a strong odor of alcohol on his breath. Defendant got out of his truck after
twice being asked to do so by the officer. Defendant then told the officer that he had consumed
his last alcoholic drink about five hours earlier at approximately 3:00 p.m. Defendant refused to
participate in field sobriety tests and a preliminary breath test.

        The officer arrested defendant on the basis of the 911 call describing defendant’s erratic
driving and the officer’s determination that defendant was intoxicated. The officer conducted a
post-arrest inventory search of defendant’s truck, discovering more than 20 empty cans of Twisted
Tea, an alcoholic beverage. The officer obtained a search warrant for a blood draw, which was
performed on defendant at the county jail at about 11:00 p.m. Defendant had a blood alcohol


                                                -1-
content (BAC) of 0.198 grams of alcohol per 100 ml of blood. This was more than twice the legal
limit of 0.08.

          At the trial, during an exchange with a prospective juror during voir dire, the prosecutor
stated:

                 There’s something called the burden of proof. So, the burden of proof is on
          the People. That’s me. I’m the one with the burden of proof. That proof is, you’ve
          probably also heard this from TV movies, beyond a reasonable doubt, and that
          would go to each element of the crime. There’s only one charge, OWI third.

                  Again, as you just stated, you don’t know the facts yet. . . . Are you willing
          to presume that he’s innocent at this stage and to make sure that I’m the one that
          has to prove each one of those elements? [Emphasis added.]

Defense counsel did not object to the prosecutor’s reference to “OWI third.”

         In her opening statement, defense counsel indicated that the jury would hear evidence that
when defendant was in the restaurant, he “had a drink while he was waiting, grabbed his carryout
and began to leave.” This comment implicitly suggested that defendant’s BAC was produced by
the drink in the restaurant around 8:00 p.m. and that he had not been intoxicated while driving to
the restaurant because his previous consumption of alcohol was hours earlier at 3:00 p.m. During
the trial, there was no evidence presented establishing that defendant had a drink at the restaurant,
and he chose not to take the stand. In her closing argument, defense counsel commented that the
arresting officer could not have known for sure what happened inside the restaurant. The
prosecutor then argued in rebuttal:

                   As far as the blood alcohol, all we really have to go on is what the defendant
          said. The defendant said his last drink came at 3:00 p.m. This arrest occurred
          roughly at 8:09 p.m., or the initial police contact occurred at 8:09 p.m. You—the
          Judge is going to tell you in jury instructions, and we talked about this in jury
          selection too, I’m just asking you to use common sense and judgment. What kind
          of drink can you have where you consume it at 3:00 p.m., not have any alcohol in
          your system at 8:09 p.m., you’re at zero—or at least you’re under—this would be
          the defense’s argument, I suppose, you’re under that .08, and then later, three hours
          24 later, your blood alcohol has risen now to .198. That’s all we have. That’s what’s
          in the testimony, that’s what the defendant said.

                  Now, I said something about they teach you in law school not to make
          promises. [Defense counsel] did state in her opening—it’s—not that I’m saying this
          was a promise, but she said that there was one drink consumed at the Mexican
          restaurant. I don’t know what kind of drink that could have possibly been that would
          have you not intoxicated at 8:09 and then one drink put you at a .198 two or three
          hours later, but I’d like to find out.

                  Again, what the defense attorney states, what I state, that’s not evidence.
          So, the thing about one drink, that never came in. All that came in as to when or


                                                   -2-
       how much the defendant drank was when he stated he had been drinking and I
       stopped about 3:00 p.m., and I think you can make reasonable inferences when the
       officer stated that he saw 20 plus empty Twisted Tea cans in the vehicle as well.

Defense counsel did not object to any of the remarks in this passage. Subsequently, defendant was
convicted and sentenced as indicated earlier. This appeal ensued.

                                          II. ANALYSIS

        Defendant contends that the prosecutor made improper statements during voir dire and
closing rebuttal argument. With respect to voir dire, defendant argues that the prosecutor
improperly referred to prior bad acts by commenting that defendant was charged with OWI “third.”
In regard to the prosecutor’s closing rebuttal argument, defendant maintains that the prosecutor
effectively shifted the burden of proof to defendant when mentioning that no evidence was
produced showing that he had a drink at the restaurant as claimed in defense counsel’s opening
statement. We conclude that defendant’s arguments do not merit reversal.

                                  A. STANDARD OF REVIEW

        “To preserve a claim of prosecutorial error, a defendant must timely and specifically
challenge the prosecutor’s statements or conduct.” People v Thurmond, ___ Mich App ___, ___;
___ NW3d ___ (2023) (Docket No. 361302); slip op at 9. Defendant did not object to the
prosecutor’s statements now being challenged on appeal; therefore, his claims of prosecutorial
error or misconduct are unpreserved. “We review unpreserved claims of prosecutorial error for
plain error affecting defendant’s substantial rights.” Id. To obtain appellate relief under the plain-
error standard, a defendant bears the burden of persuasion and must show that: (1) an error
occurred, (2) the error was clear or obvious, and (3) the error affected substantial rights. People v
Carines, 460 Mich 750, 763; 597 NW2d 130 (1999). To satisfy the third element, the defendant
must demonstrate that the error “affected the outcome of the lower court proceedings.” Id.Additionally, “[r]eversal is warranted only when the plain, forfeited error resulted in the conviction
of an actually innocent defendant or when an error seriously affected the fairness, integrity or
public reputation of judicial proceedings independent of the defendant's innocence.” People v
Allen, 507 Mich 597, 614; 968 NW2d 532 (2021) (quotation marks and citation omitted).

                                   B. GENERAL PRINCIPLES

       In People v Dobek, 274 Mich App 58, 63-64; 732 NW2d 546 (2007), this Court, discussing
a prosecutor’s role and commentary at trial, observed as follows:

              Given that a prosecutor’s role and responsibility is to seek justice and not
       merely convict, the test for prosecutorial misconduct is whether a defendant was
       denied a fair and impartial trial. A defendant’s opportunity for a fair trial can be
       jeopardized when the prosecutor interjects issues broader than the defendant’s guilt
       or innocence. Issues of prosecutorial misconduct are decided case by case, and this
       Court must examine the entire record and evaluate a prosecutor’s remarks in
       context. The propriety of a prosecutor’s remarks depends on all the facts of the case.



                                                 -3-
       A prosecutor’s comments are to be evaluated in light of defense arguments and the
       relationship the comments bear to the evidence admitted at trial. Otherwise
       improper prosecutorial conduct or remarks might not require reversal if they
       address issues raised by defense counsel. [Quotation marks and citations omitted.]

                                         C. DISCUSSION

                            1. STATEMENTS DURING VOIR DIRE

       Defendant first argues that the prosecution’s reference during voir dire to the charge of
“OWI third” constituted the improper introduction of defendant’s past criminal record. “[P]rior
convictions are not elements of the offense” for purposes of MCL 257.625; rather, they merely
provide a basis for a sentencing enhancement. People v Reichenbach, 459 Mich 109, 127 n 19;
587 NW2d 1 (1998). “Under MRE 404(b), the prosecution may not present evidence of a
defendant’s other crimes, wrongs, or acts in order to show a defendant’s propensity to commit a
crime.” People v Railer, 288 Mich App 213, 219; 792 NW2d 776 (2010).

        Assuming that the prosecutor’s allusion to “OWI third” during voir dire constituted
improper commentary regarding defendant’s past crimes in violation of MRE 404(b), the reference
cannot reasonably be viewed as prejudicial. The prosecutor’s sole mention of the charge as “OWI
third” was made in passing while accurately explaining the burden of proof. At no time during the
remainder of the trial did the jurors hear anything about defendant being previously convicted of
OWI.1 Neither the prosecutor nor the trial court defined the term “third” for the jury. It is
conceivable that the jurors would not have understood from the surrounding context that the word
“third” had any relationship to prior OWI convictions. Regardless, there was overwhelming
evidence supporting the conviction, including the testimony of witnesses regarding defendant’s
erratic driving and intoxicated behavior and physical appearance, along with evidence of empty
alcohol containers found in defendant’s truck and a BAC of 0.198. Defendant has not
demonstrated that any assumed error affected the outcome of the proceedings, that he is actually
innocent, or that the fairness, integrity, or public reputation of the proceedings was seriously
affected independent of defendant’s innocence. In sum, we conclude that reversal is unwarranted
on this claim of error.

          2. STATEMENTS MADE DURING CLOSING REBUTTAL ARGUMENT

       A prosecutor’s closing remarks may provide an overview of the evidence provided at trial.
See People v Ericksen, 288 Mich App 192, 199; 793 NW2d 120 (2010). “Prosecutors are typically
afforded great latitude regarding their arguments and conduct at trial.” People v Unger, 278 Mich
210, 236; 749 NW2d 272 (2008). “They are generally free to argue the evidence and all reasonable
inferences from the evidence as it relates to their theory of the case.” Id. But “[a] prosecutor may


1
  There was discussion on the record after the jury was selected and before initial instructions were
given regarding defendant’s prior OWI convictions. Outside the presence of the jury, the
prosecutor asked for instructions on defendant’s two prior OWI convictions on the basis that the
charge was OWI “third.” The trial court astutely declined to do so, agreeing with defendant that
the issue of defendant’s prior convictions was relevant only in relation to sentencing.


                                                -4-
not imply in closing argument that the defendant must prove something or present a reasonable
explanation for damaging evidence because such an argument tends to shift the burden of proof.”
People v Savage, 327 Mich App 604, 616; 935 NW2d 69 (2019) (quotation marks and citation
omitted). Commenting on a defendant’s failure to present evidence is an attempt to shift the burden
of proof. People v Fyda, 288 Mich App 446, 464; 793 NW2d 712 (2010). That said, “attacking
the credibility of a theory advanced by a defendant does not shift the burden of proof.” People v
McGhee, 268 Mich App 600, 635; 709 NW2d 595 (2005).

        With respect to the prosecutor’s comments that there was no evidence that defendant
imbibed an alcoholic drink at the restaurant contrary to defense counsel’s suggestion during
opening statements, a prosecutor is permitted to remark that defense counsel failed to submit
evidence of a fact that counsel claimed during an opening statement would be shown or
demonstrated at trial. See People v Fields, 450 Mich 94, 115-116; 538 NW2d 356 (1995) (a
prosecutor may comment on a defendant’s failure to “prove[] what it said it would in its opening
statement”); People v Sanders, 163 Mich App 606, 611; 415 NW2d 218 (1987) (the prosecutor
“merely stated that defendant had not shown what he said he was going to show in his opening
statement”). Moreover, the prosecutor was directly responding to defense counsel’s remarks
during her closing argument that the arresting officer lacked knowledge concerning what
defendant did while he was inside the restaurant. See Dobek, 274 Mich App at 64 (“Otherwise
improper prosecutorial conduct or remarks might not require reversal if they address issues raised
by defense counsel.”); see also McGhee, 268 Mich App at 635 (a prosecutor can attack the
credibility of a theory advanced by a defendant).

        Finally, assuming prosecutorial error or misconduct, the prosecutor’s comments in the
closing rebuttal argument were not prejudicial. The trial court instructed the jury that it “must start
with the presumption that the defendant is innocent,” that “[t]he prosecutor must prove each
element of the crime beyond a reasonable doubt,” that “[t]he defendant is not required to prove his
innocence or do anything,” that “[e]very defendant has the absolute right not to testify,” and that
a defendant’s decision not to testify “must not affect your verdict in any way.” Jurors are presumed
to follow their instructions. People v Solmonson, 261 Mich App 657, 663; 683 NW2d 761 (2004);
see also People v Meissner, 294 Mich App 438, 458; 812 NW2d 37 (2011) (to the extent that the
prosecutor’s remarks exceeded permissible bounds, any prejudicial effect was cured by the trial
court’s instructions to the jury before deliberations). Additionally, as observed earlier, there was
overwhelming evidence of defendant’s guilt. Defendant has not demonstrated that any assumed
error affected the outcome of the proceedings, that he is actually innocent, or that the fairness,
integrity, or public reputation of the proceedings was seriously affected independent of defendant’s
innocence. In sum, we conclude that reversal is unwarranted on this claim of error.

       Affirmed.



                                                               /s/ James Robert Redford
                                                               /s/ Michael F. Gadola
                                                               /s/ Michael J. Riordan




                                                 -5-
